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             IN THE UNITEDSTATESDISTRICTCOURTFOR
                 THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


DONNACURLING,et al.
Plaintiff,
                                                  CML ACTION FILE NO.:
vs.                                               1:17-cv-2989-AT
BRAD RAFFENSPEGER, et al.
Defendant.




         SUPPLEMENTAL DECLARATION OF JEANNE DUFORT

JEANNE DUFORT declares, under penalty of perjury, pursuant to 28 U.S.C.

§ 1746, that the following is true and correct:

   1. My name is Jeanne Dufort.

   2. This declaration supplements my declarations of June 17, 2019, September

      10, 2018, December 16, 2019, and January 14, 2020. I stand by all of the

      content of those declarations.

   3. I have personal knowledge of all facts stated in this declaration, and if called

      to testify, I could and would testify competently thereto.,

  --4. I am a-registered voter in Morgan County, and routinely attend the Morgan

      County Board of Elections and Registration and stay current with the issues

      related to the new voting system being implemented statewide. I also
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   observed the BMD pilot election on December 3, 2019 in Valdosta and am

   familiar with many of the physical and logistical difficulties of installing the

   system. For the combined Presidential Preference and General Primaries, I

   served as a Poll watcher, Poll watcher coordinator, and Vote Review Panel

   member in Morgan County, appointed by the local Democratic Committee.

Use of New Dominion System and Hand Marked Paper Ballots

5. On June 9 in Morgan County, 4 out of 7 precincts opened late: Rec Center-

   IO minutes, Bethany-Springfield - 20 minutes, Clack - 24 minutes,

   Centennial - 51 minutes late. Problems reported to me in my roles noted

   above included incorrect passwords, Poll Pads that needed to be unplugged

   and rebooted , Poll Pads incorrectly showing a voter had already voted. I

   obtained these reports in my duties with the Democratic Party in the above-

   mentioned roles.

6. In my capacity as Poll Watcher, I visited the polling place and spoke with

   the poll manager at Precinct 7/North Morgan in Bostwick, about 9am. He

   advised me that he had some problems that prevented voters from using the

   Ballot Marking   Devices   earlier, and gave a few voters   Emergency Paper

   Ballots so they were not delayed. He was concerned that the scanners would

   not accept the ballots, but deposited them in the secure scanner

   compartment. It appeared that he was clearly prepared to switch to hand
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                                                                                 I
   marked paper ballots when BMD use was impractical, and voters       were
   processed in a timely manner, as provided by the Emergency Ballot Election

   Rule.

7. A storm blew through in the afternoon, causing three polling locations to

   lose power. The backup batteries supported equipment in two of the polling

   places, but they failed in Centennial/Clack and voting was interrupted for

   about 90 minutes until the tech arrived and got the equipment working. To

   my knowledge, the Centennial/Clack poll manager did not offer Emergency

   Paper Ballots to voters. I arrived at the Polling Place about an hour after

   voting halted, and there were approximately 30 people in line.

8. I was dismayed that the Centennial/Clack poll manager did not offer

   emergency ballots to voters, which she had on hand and could have

   immediately permitted the voters to vote , rather than having them stand in

   line during a time of the pandemic where election officials should be

  working to reduce polling place congestion. It is my understanding that

  Morgan County poll managers are trained to immediately switch to hand

  marked paper ballots if such emergencies occur. Our poll watchers are aware

  of the Emergency Ballot rule and are trained to anticipate an immediate

  switch to hand marked ballots.
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9. I observed very closely as Athens-Clarke County made such a switch with

   ease over one night after the Board of Elections determined that the BMDs

   could not provide absolute ballot secrecy.

10. I attended the Athens Clarke County ("ACC") Board of Elections meeting

   on March 3, 2020, when they voted to adopt "Plan B" -to use hand marked

   paper ballots for most in-person voting (with a BMD station available for

   HA VA compliance), effective the following day when early voting resumed.

   The standard voting method was changed literally overnight with no

   publicly reported administrative or voter problems. From March 4 through

   March 11, ACC voters used hand marked paper ballots for early voting, and

   cast their ballots in the precinct scanner. Following a March 11 order by the

   State Election Board, ACC voters resumed voting on Ballot Marking

   Devices on March 12. Attached as Exhibit E is a true and correct copy of an

   email I received from Jesse Evans, Chair of the ACC BOE, confirming the

   time line.

   Vote Review Panel Observations and Vote Counting

11.0n June 9, I arrived at the Election office about 8pm to attend to my duties

   as a Vote Review Panel member. I was asked to assist the team opening mail

   absentee ballots - they had begun at 3pm and there were still many to be

   opened. I spent the next 3 hours, with six other people, opening the
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   remainder of the approximately 3000 mail ballots. Scanning began about

   10pm and continued until about 2am.

12.I observed the following while handling mail absentee ballots:

      a. Inconsistent paper stock - some stiffer, some more flimsy

      b. Ragged/tom edges where the top tab was detached

      c. We had to remove the top tab for a number of ballots

      d. Voters marking choices in a number of ways, including filling in the

         oval, circling the oval, making X or check marks, and one who made

          smiley faces in the oval to mark their selection.

13.The scanning team reported difficulty in scanning due to the ragged edges

   where the tab was removed. This was solved by using scissors to clean up

   the edge in some cases.

14.0n June 10 afternoon, the Vote Review Panel convened. Morgan County

   used the adjudication tool provided by Dominion. The Vote Review Panel

   consisted of Election Supervisor Jennifer Doran, local attorney Stephen

   Morris on behalf of the Republican Party, and me on behalf of the

   Democratic Committee. We were assisted by a Dominion tech, with Board

   of Elections member Helen Butler observing.

15.Ms. Doran instructed the tech to pull up all ballots with overvotes and

   ambiguous marks - there were about 150 ballots to review, out of
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   approximately 3000 hand marked ballots.     I have   attached a screen shot

   (Exhibit A) that was published in the New York Times that depicts the same

   type of screen images and flagging for adjudication that I saw and worked

   with in Morgan County as a Vote Review Panel member.

16. Votes deemed cast were highlighted in green with a heavy check mark over

   the voter mark. The voter marks deemed ambiguous were highlighted in

   yellow. All contests deemed requiring adjudication were outlined in red.

   Contests with no highlights were deemed a "blank contest" by the software.

17. The first time we encountered a contest with no highlights, but a clearly

   marked vote ~I asked the Dominion tech whether that vote was counted, and

   he said "of course, that's a vote," and assured me it was counted. We moved

   on to the next ballot. The next time, I asked him to show me the cast vote

   record ("Audit Mark") for the ballot. The Audit Mark showed "blank

   contest" for the race with no highlights, despite the presence of a clear vote.

   By unanimous agreement, we adjudicated that contest to show the vote,

   overriding the inaccurate tabulator software.

18. Then we returned to the previous ballot and did the same. During the course

   of review about 150 ballots, I estimate we found and adjudicated about 20

   votes that were clearly marked by the voters, but the software was

   categorizing as "blank contest".
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19. Discovering that the new system was not counting some clearly marked

   votes was highly disturbing; together with Marilyn Marks of the Coalition

   for Good Governance, I was able to have a discussion on the evening of June

   10th with Harri Hursti, one of the world's leading experts on election

   technology, and Coalition Plaintiffs expert. I learned from Mr. Hursti that

   many factors can affect the accuracy of how software interprets a scanned

   image, including paper and ink type, humidity, brand and model of scanner

   used, among them. Based on this conversation I became concerned about our

   duties as Vote Review Panel members to be certain that all votes are fairly

   counted.

20. I attended The Morgan County Election Board met on Thursday, June 11,

   where I spoke during public comment time to relay the findings of the Vote

   Review Panel and my concerns about uncounted votes remaining in the

   2,700 unreviewed mail ballots. BOER member Helen Butler, who had

   observed the adjudication session, asked the Board to vote to expand the

   adjudication process to review the remaining 2700 mail ballots to see if there

   were additional uncounted votes. By 3-2 vote, her motion was denied.

21. The Morgan County Election Board met again on June 18, to certify results.

   By that time, more Georgia counties had confirmed that the software had

   failed to count many valid votes, and some counties, including Oconee
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   County, had chosen to review additional ballots, reportedly finding more

   uncounted votes.

22.Again Ms. Butler made a motion that Morgan County review all ballots

   before certifying, in light of confirmation that the software fails to count

   some votes. Again by 3-2 vote, her motion was denied. As a result, Morgan

   County voters cannot be sure that all of their votes have been counted, while

   voters in other counties can be more certain.

23. In my role as Vote Review Panel member, we also adjudicated a few dozen

   ballots that needed to be duplicated, because the ballots were physically

   damaged and could not go through the scanner. I have confidence that the

   ballots were faithfully duplicated - Ms. Doran marked the duplicate ballot

   while Fred Johnson, the Republican and I took turns calling the votes and

   confirming her marks . But I am alarmed that the audit trail back to the

   original voter marked ballot was not faithfully kept. Duplicates were marked

   as such, but not cross referenced to the original voter marked ballot, as

   required under statute. Robust audits are a cornerstone of safe elections, and

   you cannot have a reliable audit if you cannot examine the original ballot.

24. On June 13, the Associated Press posted a story (Exhibit B) about the

   discovery by multiple Vote Review Panel members that the new system was

   not counting some votes. Gabriel Sterling, chief operating officer for the
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   Secretary of State, challenged the Associated Press story using his personal

   Twitter account, saying "the AP is simply wrong" and "0-13% isn't a mark"

   (Exhibit C). He further complained that the "activist in Morgan County who

   is making the claim did not inform the state, either directly or through the

   county elections division".

25.I was shocked at his response for a number of reasons: 1) I expected Georgia

   elections officials to be concerned that the system was not counting some

   valid votes and 2) I had raised the concern at my county Board of Elections

   meeting three days earlier, within 24 hours of the discovery.

26.I attended the August 10 State Election Board meeting via Zoom, and

   advised the State Board of my discovery during public comments (Exhibit

   D). It's my understanding that the purpose of Vote Review Panels is to

   review ballots that cannot be automatically processed by the system tools,

   and that we are obligated to count all votes in which voter intent is clear. In

   my view, scanners and scanning software are used in elections to expedite

   tabulation. They cannot be used to throw otherwise valid votes away.



27. During the same August 10 State Election Board meeting, a new rule

   (https://sos.ga.gov/admin/files/SEB%20Rule%20183-l -15-.02(2)%20and%20.04%20-

   %20To%20Post%20For%20Public%20Comment.pd f) wa·s posted for public
    Case 1:17-cv-02989-AT Document 809-6 Filed 08/24/20 Page 11 of 20



   comment that will purportedly change what constitutes a vote in Georgia by

   changing scanner software settings used to count votes. The proposed

   language is:

      a. (k) Ballot scanners that are used to tabulate optical scan ballots marked by hand
         shall be set so that: 1. Detection of 20% or more fill-in of the tar_getarea
         surrounded by the oval shall be considered a vote for the selection ; 2. Detection of
         less than 10% fill-in of the target area surrounded by the oval shall not be
         considered a vote for that selection; 3. Detection of at least 10% but less than 20%
         fill-in of the target area surrounded by the oval shall flag the ballot for
         adjudication by a vote review panel as set forth in O.C.G.A. 21-2-483(g). In
         reviewing any ballot flagged for adjudication , the votes shall be counted if, in the
         opinion of the vote review panel , the voter has clearly and without question
         indicated the candidate or candidates and answers to questions for which such
         voter desires to vote.



28.SOS counsel Ryan Germany introduced the proposal, saying "in the

   primary, the scanners are set using the factory settings, which are a

   minimum percent fill in is 12%. So anything below 12% was not counted,

   and anything above 35% of a bubble filled in was counted, and anything in

   between 12 and 3 5 was in the ambiguous cell." He advised that the

   "ambiguous zone is a new feature in Georgia elections and I think it led to

   some, it basically led to some instability that was not previously present in

   old voting system."

29. Reducing the upper ambiguous threshold from 35% to 20% should logically

  result in more votes being automatically counted, without further review.

  And reducing the lower threshold from 12% to 10% will likely reduce the
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   numberof uncountedvotes.But fromthe perspectiveof a VoteReview

   Panel Member charged with the responsibility of ensuring that all votes

   count, as long as voter intent can be determined - I would ask why the State

   has confidence that 10% is the correct bottom threshold.

30.During the meeting the State Board did not discuss the factual basis for the

   new range, nor any research that would indicate that it was a conservative

   range that would ensure that all reasonably detectable voter marks for

   candidates were recorded and counted.

31.Allowing software settings to assign "blank contest" when there are marks

   that a Vote Review Panel unanimously agree are clear votes is simply an

   affront to democracy. In my opinion, lowering the threshold further simply

   shifts the judgement to a Vote Review Panel to determine whether voter

   intent is clear, while keeping it artificially high robs a citizen of a vote. It's

   not a close call - the bottom threshold should be lowered to de minimis

   value determined by experts that will reasonably ensure capturing all votes.

32.Based on my experience in June, I am concerned that if the software is not

   counting all votes in November, our Vote Review Panel will again not be

   permitted to review the images or the paper ballots to count the marginal

   vote marks that can clearly be understood as intended votes.
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Executed on this date, August 23, 2020 .




                                      Jeanne Dufort
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Dufort declaration 082320
Exhibit A
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8/23 / 2020                                           Activists cite tabulation flaw in mail-in ballots in Georgia   I PBS NewsHour   Weekend

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 Activists cite tabulation flaw in mail-in ballots in Georgia
 Politics          Jun 13,        2020 12:28          PM EDT



 Faulty software or poorly calibrated vote-tabulation                  scanners used to count mailed-in ballots in this week's chaotic Georgia primary
 may have prevented thousands of votes from being counted, election officials and voting integrity activists say.


 The issue was identified in at least four counties, DeKalb, Morgan, Clarke and Cherokee, according to officials who discovered them,
 including activists who have sued the state for alleged election mismanagement.


 "The fact that it is in multiple counties tells me that it's probably systemic," Richard DeMillo, a Georgia Tech computer scientist who
 has testified for the plaintiffs, because identical scanners and software were used to count all absentee ballots across the state.
 DeMillo said the only way to know for sure is through audits.


 A top Georgia voting official, voting implementation                  manager Gabriel Sterling, said Friday that he had seen no evidence yet of the
 issue and found it difficult to believe the reports were "an active description of what is happening on the ground."


 "These are activists who have an ax to grind," he said.


 Nearly 1.1 million Georgians voted by mail for Tuesday's primary, which had been delayed twice due to the coronavirus pandemic.


 In-person voting Tuesday was beset by cascading failures. Voters waited up to five hours to cast ballots at some polling places due to
 equipment problems, poll worker unfamiliarity with a new voting system and social distancing measures taken because of the virus.
 Many voters also showed up to vote in person because absentee ballots they requested never arrived by mail.


 The scanners and ballot-marking devices used in all 159 Georgia counties Tuesday are part of a voting equipment package the state
 purchased for $120 million from Dominion Voting Systems after a federal judge ordered it to scrap an outdated, untrustworthy                    system.


 In post-election reviews, bipartisan panels in all four counties detected unregistered votes while examining ballot images flagged by
 the vote-tallying scanner's software for anomalies.


 In Morgan County, Republican-dominated                  and just southeast of Atlanta, panelists discovered at least 20 votes on scanned ballot
 images that the program had not recorded, said Jeanne Dufort, a Democrat on the panel. She said it appeared the votes did not
 register because ovals that were supposed to be filled in were instead checked or marked with X's.


 All three panelists agreed to add the unregistered votes to the electronic tally, said Dufort. But on Thursday, the county elections
 board voted 3-2 not to audit the rest of the roughly 3,000 absentee ballots. The other two panelists, a Republican appointee and the
 election director, did not return emails and phone calls seeking comment.


 "It is a head-in-the-sand         approach," Dufort complained.


 In Clarke County, vote review panelist Adam Shirley estimated at least 30 ballots out of about 300 flagged for anomalies had votes that
 "the system had not marked at all, that had not processed at all."


Shirley, a Democrat, recommended a review of all 15,000 absentee ballots.


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                      Case 1:17-cv-02989-AT Document 809-6 Filed 08/24/20 Page 16 of 20
8/23/ 2020                          Activistscite tabulationflaw in mail-inballots in GeorgiaI PBSNewsHourWeekend
 In an email Friday to fellow board members, county election board chair Jesse Evans said "it's not just possible but probable that a
 ballot whose voter had clearly but not completely marked their vote would not have its votes counted by the software."


 In an email to Evans, Shirley said he found it disturbing that the software did not flag the uncounted votes. "We only noticed them by
 sheer luck as we were adjudicating other, flagged contests on ballots ."


 In Cherokee County, the problem was detected in less than 5% of the flagged ballots, said an elections official who spoke on condition
 they not be further identified, citing fear of political harassment. The official said the number of flagged ballots was in the hundreds.


 In DeKalb, County, review panel member Elizabeth Burns estimated find ing between 20-50 uncounted votes on 530 flagged ballots
 and said her team had so far only reviewed half its 100,000 absentee ballots. Like Shirley , she said her team had stumbled upon the
 issue. She said she wondered how many other counties were aware of it.


 " Maybe not everyone has been as thorough as us and noticed this, " she said.


 "The detection of this major problem was only because of diligent citizen oversight . The officials charged with the duty to fully test the
 equipment recklessly failed to responsibly do so, or to audit it," said Marilyn Marks , executive director of the Coalition for Good
 Governance , which is demand ing in court that the state scrap the ballot-ma rk ing devices.


 Dominion spokeswoman Kay Stimson referred questions to the state, but said in an email that her company's systems "are designed
 to support robust post-election audits, and we support them as a recommended best practice for elections. "


 Sterling, the state official , said author ities are willing to consider audits if merited.


 Voting security expert Harri Hursti said inadequate pre-election testing may be the cause of the issue. A fix could be as simple as
 adjusting the contrast sett ings in the image-capturing software. Or it could be a different coding issue.


 The Dominion election system used on Tuesday is proprietary. Hursti said it has never been subjected to an independent secur ity
 review.


 It was, however, denied certification by Texas, wh ich cited "multiple hardware and software issues" identified by state-appointed
 exam iners. They cited a complex installation process and one called the suite "fragile and error prone."


By - Frank Bajak, Assoc iated Press




https://www.pbs.org/newshour/ politics/activists-cite-tabulation-flaw-in-mail-in-ballots-in-georgia                                      2/2
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Dufort declaration 082320

Exhibit C-1



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                                                                                                                                                                                                                                                        Surprise When Kamala Harris                         II
El P
                                                        ~
                                                                Jeanne Dufort
                                                                @dufortJeanne

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                                                                                                                    engineers for black box testing?
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Dufort declaration 082320

Exhibit C-2
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                                                                                                                 Gabriel Sterling                                                                           ~        @NFMich followsyov              \. F<>llow)
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                                                                                                                                                                                                                     happily married , Catholic. Democrat.
                                                                                                       Replyingto @NFMich                                                                                            •VoteBlue IGoGators
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                                                                                                       Well, the images that have been posted to social media                                                        -.:-
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                                                              r,        Notificati ons                 are sketches, not actual ballots . Further, the activist in
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                                                              e         More                           ~         Replymgto @GabnelSterlingand @NFMich
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                                                                                                                 Didn't rest of panel (Republicans}agree??                                                  Polct.1cs
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                                                                                                                 John Panzer @jpanzer • Jun 15
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                                                                                                                 Replying to @GabnelSterlirn;1 and @NFMich                                                  Show more
                                                                                                                 You'resaying this is not an image of an actual ballot, with the documented
                                                                                                                 highlight marking added? Becausethat would mean you're saying Dufort is
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Dufort declaration 0823
Exhibit D
Remarks to State Election Board, August 10, 2020

My name is Jeanne Dufort. I'm a Morgan County voter, 1st Vice Chair of the
Morgan County Democrats and a member of the Coalition for Good
Governance
I served in a number of capacities on June 9 and during the following 10
days - officially as a poll watcher and vote review panelist, and informally
assisting opening and sorting mail ballots.
Like voters in most counties, about half of Morgan County voters chose to
vote from home, submitting hand marked absentee ballots that had to be
checked in, opened, and scanned in the central office.
We used the adjudication software to resolve questions with ballots -
about 5% of the ballots required review. In consultation with the Dominion
Tech, we looked at ballots with overvotes and ambiguous marks - to my
knowledge, most counties throughout the state used this selection criteria.
Overall, the adjudication tool was easy to navigate and helpful in selecting
ballots to review. But I was shocked to find that the scanning software has
a serious flaw - it marked some votes as uncounted that our 3-person vote
review panel unanimously agreed were clearly votes. First time we
encountered this; the Dominion tech assured us that the vote was counted
- it was that clear. Next time, we asked to see the cast vote record - and
were really shocked to see that vote labeled "unvoted".
21-2-438( c) is clear: notwithstanding any other provisions of this chapter
to the contrary .... If the elector's mark is clear, it SHALL be counted.
Technology MUST support the goals of the business it is used for - its
absurd to change the goal based on technology limitations.
Scanners and scanning software are used in elections to expedite
tabulation. They cannot be used to throw otherwise valid votes away.
Georgia voters want to be assured that all of their votes will be counted.
                       Case 1:17-cv-02989-AT Document 809-6 Filed 08/24/20 Page 20 of 20
8/24/2020                                              Re: ACC sequence of events - HMPB


      From: evans.jesse.accboe@gmail.com,
          To:jdufort@aol.com
                           ,
   Subject: Re: ACC sequenceof events - HMPB
       Date: Sun , Aug 23, 2020 7:31 pm


   March 3
   March4
   March 11
   March 12

   Yes, they used the scanner


   On Sun, Aug 23, 2020 , 18:39 Jeanne <jdufort @aol.com> wrote:
      Jesse

      Please confirm the sequence of events regarding the ACC temporary switch to hand marked paper ballots for early
      voting.

      March 2 - ACC BOE votes to adopt Plan B immediately
      March 3 - ACC voters begin using hand marked paper ballots for early voting, with one BMD available for HAVA
      compliance
      March 11 -State Election Board orders ACC to switch back to BMDs for all voters
      March 12 -ACC voters begin using BMDS for early voting

     can you confirm that voters who used hand marked paper ballots from March 3-11 were able to cast their ballots using
     the precinct scanner?

     Thanks

     Jeanne Dufort




https://mail.aol .com/webmail-std/en-us/PrintMessage                                                                        1/1
